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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

JANINE ZIAHET and                     )
MONDAKAN OCTAVIEN ZIAHET,             )
                                      )
              Plaintiffs,             )                 Civil Action No. 4:16-cv-00188-ALM
                                      )
vs.                                   )
                                      )
                  1
JOHN F. KELLY , Secretary of the      )
Department of Homeland Security;      )
THE DEPARTMENT OF HOMELAND )
SECURITY; JAMES McCAMENT 2,           )
Acting Director of the United States  )
Citizenship and Immigration Services; )
TRACY TARANGO, Field Office           )
Director, United States Citizenship   )
And Immigration Services; and         )
THE UNITED STATES CITIZENSHIP )
AND IMMIGRATION SERVICES,             )
                                      )
              Defendants.             )


               DEFENDANTS’ MOTION TO DISMISS PURSUANT TO
                   FED. R. CIV. P. 12(b)(1), 12(b)(5), and 12(b)(6)

        Now come the Defendants, John F. Kelly, Secretary of the Department Of

Homeland Security, the Department Of Homeland Security, James McCament, Acting

Director of the United States Citizenship and Immigration Services, Tracy Tarango, Field

Office Director, United States Citizenship and Immigration Services, and the United

States Citizenship and Immigration Services, by and through the Acting United States

1  Pursuant to Fed. R. Civ. P. 25(d), John F. Kelly automatically replaced Jeh Johnson as the Secretary
of the U.S. Department of Homeland Security.
2 Pursuant to Fed. R. Civ. P. 25(d), James McCament automatically replaced Leon Rodriguez as the

Acting Director of the U.S. Immigration and Citizenship Services.
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Attorney for the Eastern District of Texas, and respectfully move for dismissal of

Plaintiffs’ Complaint pursuant to Federal Rules of Civil Procedure 12(b)(1) for lack of

subject matter jurisdiction, 12(b)(5) for failing to properly effect service of process on the

Defendants, and 12(b)(6) for failure to state a claim.

      I.  INTRODUCTION, SUMMARY OF THE ARGUMENT, AND
    STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDINGS

       According to the Complaint, on August 27, 2009, Plaintiff Janine Ziahet, a U.S.

citizen, married Co-Plaintiff Mondakan Octavien Ziahet, an undocumented alien. See

Doc.1 at pp. 2 and 6. On April 7, 2010, Mrs. Ziahet filed a visa petition form I-130 for

Mr. Ziahet, seeking to classify him as an immediate relative spouse of a U.S. citizen,

under 8 U.S.C. § 1151(b)(2)(A)(i); that petition was approved on October 7, 2010. Id. at

p. 6 and at Exhibit D of the Complaint. On July 29, 2013, Mr. Ziahet filed an application

to adjust his status to that of a lawful permanent resident, form I-485, under 8 U.S.C. §

1255(a). Doc. 1 at Ex. A. That application was denied by USCIS on April 22, 2015,

because Mr. Ziahet could not prove that his entry into the U.S. was lawful. Doc. 1 at p. 7

and at Ex. A.

       On March 18, 2016, Plaintiffs filed the instant Complaint with the Court seeking

judicial review of the USCIS Field Office Director’s decision to deny Mr. Ziahet’s

application to adjust status and to not initiate removal proceedings. Doc. 1. at p. 2.

Plaintiffs allege that the denial of the form I-485 was in violation of the Administrative

Procedures Act (“APA”, see 5 U.S.C. §§ 701, et. seq.) and the due process clause of the

United States Constitution, and seek declaratory and injunctive relief. See id.

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       On April 7, 2017, U.S. Immigration and Customs Enforcement filed a Notice to

Appear with the Dallas Immigration Court, placing Mr. Ziahet in removal proceedings

under 8 U.S.C. § 1229a. See Exhibit 1 attached, being form I-862 Notice to Appear

issued to Mondakan Silvese Octavien Ziahet.

       The Complaint must be dismissed. First, there is no subject matter jurisdiction to

entertain Plaintiffs’ challenges to the denial of the form I-485. Rather, Plaintiffs=

challenge to the determination regarding the I-485 is barred by 8 U.S.C. ' 1252, as

amended by the REAL ID Act of 2005, Pub. L. No. 109-13, 119 Stat. 231 (2005)

(AREAL ID Act@). Such a challenge is also unexhausted and not final.

       In addition, the complaint should be dismissed for failure to comply with the rules

governing service of process. The Plaintiffs have never served the three individually

named government officers and employees sued in their official capacities as defendants

or the two federal agencies named as defendants, nor have they served the Attorney

General of the United States as required by the Federal Rules of Civil Procedure. The

Plaintiffs have filed executed summonses showing that service has only been made on the

Office of Immigration Litigation for the U.S. Department of Justice (who is not a

defendant), and on the United States attorney for the Eastern District of Texas. This is

not proper service under Fed. R. Civ. P. 4(i).

       Therefore, all of the claims should be dismissed due to a lack of subject matter

jurisdiction, failure to effect service of process on the defendants, and failure to state a

claim upon which relief can be granted.


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                            II.    STATEMENT OF ISSUES

A.     Whether Plaintiffs’ challenge to the determination regarding the lawful permanent

resident status application is jurisdictionally barred by the REAL ID Act, a lack of

finality, and a failure to administratively exhaust.

B.     Whether Plaintiffs have failed to effect service of process on the Defendants as

required by Fed. R. Civ. P 4(i) and 4(m), thus requiring dismissal pursuant to Fed. R. Civ.

P. 12(b)(5).

                           III.    STANDARDS OF REVIEW

       A.      Rule 12(b)(1) legal standard

       Federal courts are courts of limited jurisdiction. Owen Equip. & Erection Co. v.

Kroger, 437 U.S. 365, 374 (1978). “The party seeking to invoke the jurisdiction of a

federal court must demonstrate that the case is within the competence of that court. The

presumption is that a federal court lacks jurisdiction in a particular case until it has been

demonstrated that jurisdiction over the subject matter exists.” Lowe v. Ingalls

Shipbuilding, Div. of Litton Sys., Inc., 723 F.2d 1173, 1177 (5th Cir. 1984). The party

asserting jurisdiction bears the burden to prove jurisdiction when facing a Federal Rule of

Civil Procedure 12(b)(1) motion to dismiss. Ramming v. United States, 281 F.3d 158, 161

(5th Cir. 2001).

       Motions to dismiss for lack of subject-matter jurisdiction take two forms: (1) facial

attacks; and (2) factual attacks. See Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir.

1981). Under a facial attack, the movant merely challenges the sufficiency of the

complaint, requiring the district court to accept the allegations in the complaint as true.
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Id. In a factual attack, the movant goes beyond the allegations in the complaint and

challenges the facts upon which subject matter depends. Id. In such a situation, the court

must look beyond the complaint and has wide discretion to allow documentary and even

testimonial evidence under Rule 12(b)(1). Id.; see also Stanley v. Cent. Intelligence

Agency, 639 F.2d 1146, 1157-58 (5th Cir. 1981) (unlike a Fed. R. Civ. P. 12(b)(6) motion

to dismiss, a motion to dismiss for lack of subject-matter jurisdiction may consider

materials outside of the pleadings without it converting into a motion for summary

judgement).

       B.     Rule 12(b)(5) legal standard

       Fed. R. Civ. P. 4(i) specifies the proper method of service on the United States, its

agencies, and employees. It provides, in pertinent part, that:

              (1) United States. To serve the United States, a party must:
                     (A) (i) deliver a copy of the summons and of the
                     complaint to the United States attorney for the
                     district where the action is brought - or to an
                     assistant United States attorney or clerical employee
                     whom the United States attorney designates in a
                     writing filed with the court clerk – or

                             (ii) send a copy of each by registered or
                     certified mail to the civil-process clerk at the United
                     States attorney’s office;

                     (B) send a copy of each by registered or certified mail
                     to the Attorney General of the United States at
                     Washington, D.C.; and

                     (C) if the action challenges an order of a nonparty
                     agency or officer of the United States, send a copy of
                     each by registered or certified mail to the agency or
                     officer.
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                 (2) Agency; Corporation; Officer or Employee Sued in an
                 Official Capacity. To serve a United States agency or
                 corporation, or a United States officer or employee sued only
                 in an official capacity, a party must serve the United States
                 and also send a copy of the summons and of the complaint by
                 registered or certified mail to the agency, corporation, officer,
                 or employee.

Fed. R. Civ. P. 4(i)(1) and (2) (emphasis added).

       Furthermore, Fed. R. Civ. P. 4(m) proscribes a time limit for service of process. It

provides that:

        (m) Time Limit for Service. If a defendant is not served within 90 days
       after the complaint is filed, the court - on motion or on its own after notice
       to the plaintiff - must dismiss the action without prejudice against that
       defendant or order that service be made within a specified time. But if the
       plaintiff shows good cause for the failure, the court must extend the time
       for service for an appropriate period. This subdivision (m) does not apply
       to service in a foreign country under Rule 4(f), 4(h)(2), or 4(j)(1) or to
       service of a notice under Rule 71.1(d)(3)(A).

Fed. R. Civ. P. 4(m).

       C.        Rule 12(b)(6) legal standard

       To survive a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a

plaintiff must frame a complaint with enough factual matter, taken as true, to suggest that

he or she is entitled to relief. Lormand v. US Unwired, Inc., 565 F.3d 228, 257 (5th Cir.

2009) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555-56 (2007)). In addition,

the “factual allegations must be enough to raise a right to relief above the speculative

level.” In re: Great Lakes Dredge & Dock Co., LLC, 624 F.3d 201, 210 (5th Cir. 2010)

(citing Twombly, 550 U.S. at 555). Complaints that are no more than “labels and

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conclusions” or a “formulaic recitation of the elements of a cause of action . . . will not

do.” Twombly, 550 U.S. at 555-56; see also Rio Grande Royalty Co., Inc. v. Energy

Transfer Partners, LP, 620 F.3d 465, 467 (5th Cir. 2010). Moreover, “the claim to relief

must be ‘plausible on its face’” and not just conceivable or speculative. Twombly, 550

U.S. at 570; Gentilello v. Rege, 627 F.3d 540, 544 (5th Cir. 2010). The Supreme Court

further explained that “the tenet that a court must accept as true all of the allegations

contained in a complaint is inapplicable to legal conclusions.” Ashcroft v. Iqbal, 556 U.S.

129 S.Ct. 1937, 1949 (2009). In addition, documents attached to the complaint are

considered part of the pleadings, and the district court may also consider documents

referred to in the complaint if they are central to the plaintiff’s claim and the parties do

not dispute their authenticity. See Causey v. Sewell-Cadillac-Chevrolet, Inc., 394 F.3d

285, 288 (5th Cir. 2004).

                                    IV.    ARGUMENT

A.   PLAINTIFFS= CHALLENGE TO THE USCIS DENIAL OF THE
ADJUSTMENT OF STATUS APPLICATION IS BARRED BY THE REAL ID
ACT, A LACK OF FINALITY, AND THE FAILURE TO EXHAUST

       1.     Title 8 U.S.C. § 1252 precludes District Court jurisdiction.

       In the instant Complaint, Mr. Ziahet challenges the USCIS denial his application

to adjust his status. However, 8 U.S.C. ' 1252(a)(2)(B)(i) when read in conjunction with

8 U.S.C. ' 1252(a)(2)(D) makes clear that although courts generally do not have

jurisdiction to review determinations regarding obtaining relief pursuant to 8 U.S.C. '

1255 (adjustment of status), when such a claim is based on a constitutional or legal issue,

the matter is to be reviewed in a petition for review to the appropriate court of appeals.
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However, district courts still do not have jurisdiction to rule on such issues. Moreover,

because these legal issues can be raised in removal proceedings in which Mr. Ziahet has

been placed, 8 U.S.C. '' 1252(a)(5) and (b)(9) require that, if he does not obtain relief

therein, any legal challenge to the denial of his adjustment of status application be

adjudicated solely in a petition for review to the court of appeals and in no other court.

       This means that this Court is prohibited by these statutes from taking jurisdiction

over the Plaintiffs' claims because the REAL ID Act built a legislative scheme intended

to consolidate all review of any issues arising in removal proceedings, including

determinations of removability and judgments regarding relief from removal, within

judicial review of a final order of removal in the court of appeals. 8 U.S.C. § 1252. Under

the Illegal Immigration Reform and Immigrant Responsibility Act of 1996, Pub. L. No.

104-208, 110 Stat. 3009 (1996) (“IIRIRA”), and the REAL ID Act of 2005, Pub. L. No.

109-13, 119 Stat. 231 (2005) (“the REAL ID Act”), 8 U.S.C. § 1252 now states, in

relevant part, that:

       (a)(2)(D) Judicial review of certain legal claims. Nothing in subparagraph
       (B) or (C), or in any other provision of this Act (other than this section)
       which limits or eliminates judicial review, shall be construed as precluding
       review of constitutional claims or questions of law raised upon a petition
       for review filed with an appropriate court of appeals in accordance with this
       section.

       (a)(5) Notwithstanding any other provision of law (statutory or
       nonstatutory), ... a petition for review filed with an appropriate court of
       appeals in accordance with this section shall be the sole and exclusive
       means for judicial review of an order of removal entered or issued under
       any provision of this chapter, except as provided in subsection (e) of this
       section. For purposes of this chapter, in every provision that limits or
       eliminates judicial review or jurisdiction to review, the terms “judicial
       review” and “jurisdiction to review” include . . . sections 1361 and 1651 of
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       such title [28], and review pursuant to any other provision of law (statutory
       or nonstatutory).

       (b)(9) Judicial review of all questions of law and fact, including
       interpretation and application of constitutional and statutory provisions,
       arising from any action taken or proceeding brought to removal an alien
       from the United States under this subchapter shall be available only in
       judicial review of a final order under this section. Except and otherwise
       provided in this section, no court shall have jurisdicition, ... by section 1361
       or 1651 of such title [28], or by any other provision of law (statutory or
       nonstatutory), to review such an order or such questions of law or fact.

       (d) Review of final orders. A court may review a final order of removal
       only if--
              (1) the alien has exhausted all administrative remedies available to
              the alien as of right, and
              (2) another court has not decided the validity of the order, unless the
              reviewing court finds that the petition presents grounds that could
              not have been presented in the prior judicial proceeding or that the
              remedy provided by the prior proceeding was inadequate or
              ineffective to test the validity of the order.

       (g) Except as provided in this section and notwithstanding any other
       provision of law (statutory or nonstatutory), including . . . sections 1361
       and 1651 of such title [28], no court shall have jurisdiction to hear any
       cause or claim by or on behalf of any alien arising from the decision or
       action by the Attorney General to commence proceedings, adjudicate cases,
       or execute removal orders against any alien under this chapter.


(Emphasis added).

       In Ayanbadejo v. Chertoff, 517 F.3d 273, 276-77 (5th Cir. 2008), the Fifth Circuit

explained that the REAL ID Act stripped district courts of jurisdiction to review

adjustment of status determinations (“The law makes clear that we and the district court

lack jurisdiction over determinations made with respect to an I–485 application for

permanent resident status under § 1255”). As more thoroughly explained in Djodeir v.

Mayorkas, 657 F. Supp. 2d 22, 24 (D. D.C. 2009), a case which relied upon Ayanbadejo:
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       Section 1252(a)(2)(B)(i) explicitly places any judgment regarding the
       granting of relief under section 1255, which provides the statutory authority
       for adjustment of status applications, in this category of discretionary
       decisions that no court have jurisdiction to review. . . Furthermore, it
       applies whether or not the judgment is made in removal proceedings. To
       the extent that legal determinations like statutory eligibility are subject to
       judicial review, they are reviewable only by our Circuit Court on a petition
       for review of a final removal order pursuant to Section 1252(a)(2)(D),
       which Congress added when it enacted the REAL ID Act in May 2005. . . .
       Indeed, if Section 1252(a)(2)(B) did not foreclose judicial review of purely
       legal questions like statutory eligibility, there would be no need to except
       questions of law from the jurisdictional bar. In short, …[it] would render
       subparagraph (D) superfluous.

Id. See also Pizarro v. Holder, 326 Fed. Appx. 37, 39-40 (2d Cir. 2009) (“Pursuant to

IIRIRA, Congress amended the INA to preclude judicial review of “any judgment

regarding the granting of relief under among others, Section 245. . . . The scope of the

IIRIRA’s jurisdiction-stripping provision was subsequently limited by the REAL ID Act,

. . . which provides that nothing in the INA which limits or eliminates judicial review,

shall be construed as precluding review of constitutional claims or questions of law raised

upon a petition for review filed with an appropriate court of appeals.”).

       In an effort to conserve judicial resources and allow agency experts to develop the

record, Congress has vested “the sole and exclusive means for judicial review of an order

issued under any provision of this chapter,” including review of “constitutional claims or

questions of law,” in the courts of appeal. 8 U.S.C. §§ 1252(a)(5) and (a)(2)(D),

respectively.

       Here, the Plaintiffs' claims relate to questions of law currently before the

immigration court. Namely, the issue is whether that administrative body will grant Mr.

Ziahet’s adjustment of status application based upon the same legal arguments that he
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brings before this Court. If the immigration court decides the question of law against him

and he is ordered removed, he could then appeal that matter to the Board of Immigration

Appeals. See 8 C.F.R. § 1003.3. If the matter was still not decided in his favor, he would

then be entitled to judicial review in a Petition for Review to the Fifth Circuit Court of

Appeals. See 8 U.S.C. 1252(b). Therefore, review of such a question of law is not

allowed in the district court, but is reserved to the courts of appeals. See 8 U.S.C.

§§1252(a)(2)(D), (b)(9), and (d).

       This consolidation of issues for judicial review under 8 U.S.C. § 1252 is consistent

with other immigration statutes providing for judicial review at one time and in one place

on all issues relating to an alien's proposed removal. See Loya v. INS, 583 F.2d 1110,

1114 (9th Cir. 1978) (“Courts should not ignore the congressional intent of locating alien

status disputes in administrative agencies and not the federal courts”). By avoiding

piecemeal litigation of immigration issues by various administrative and judicial bodies

concurrently, Congress sought to avoid repeated court challenges that only delayed

removal proceedings and taxed the judicial system. See H.R. Rep. No. 109-72 at 174

(2005) (Conf. Rep.).

       The channeling provisions also accrue to the benefit of Mr. Ziahet since the

opportunities to develop a record and for relief during removal proceedings are quite

extensive. First, the immigration judge may grant adjustment of status under 8 U.S.C. §

1255 during removal proceedings. 8 C.F.R. § 1240.1(a)(1). Second, the immigration

judge is authorized to grant waivers of inadmissibility that may be needed to qualify the

alien for admission, and therefore for adjustment of status. 8 C.F.R. § 1240.11(a)(2).
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Finally, administrative appeal of an adverse decision may be had as a matter of right to

the Board of Immigration Appeals, which itself has broad powers to remedy agency

errors. 8 C.F.R. § 1003.1(b)(3).

       2.     USCIS’s action is not “final” and thus cannot provide a basis for
              jurisdiction under the APA.

       In their complaint, the Plaintiffs cite the APA as a basis for jurisdiction. Section

704 of the APA provides review of “[a]gency action made reviewable by statute and final

agency action for which there is no other adequate remedy in a court.” 5 U.S.C. § 704.

Reliance on the APA is misplaced, however, because the APA itself does not create an

independent basis for jurisdiction and the challenged agency action is not “final” under

the meaning of section 704.

       First, the APA does not provide an independent jurisdictional basis. See Califano

v. Sanders, 430 U.S. 99, 107 (1977); Staacke v. U.S. Department of Labor, 841 F.2d 278,

282 (9th Cir. 1988). Rather, it merely provides the standards for reviewing agency action

once jurisdiction is otherwise established. Staacke, 841 F.2d at 282.

       Second, the decision of the Dallas Field Office Director denying Mr. Ziahet’s

I-485 application is not “final” for purposes of review under 5 U.S.C. § 704. The judicial

doctrine of “finality” is distinct from that of “exhaustion” and recognizes the fluidity of

the decision-making process entrusted to agencies. See Darby v. Cisneros, 509 U.S. 137,

144 (1993) (“The finality requirement is concerned with whether the initial decision

maker has arrived at a definitive position on the issue that inflicts an actual, concrete

injury.”) (quoting Williamson County Regional Planning Comm'n v. Hamilton Bank of

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Johnson City, 473 U.S. 172, 193 (1985)). Accordingly, the Fifth Circuit has held that if

an initial agency action may be modified or reversed during administrative review, the

decision is rendered non-final for purposes of judicial review while that administrative

review is pending. See Peoples Nat. Bank v. Office of Comptroller of Currency of the

United States, 362 F.3d 333, 337 (5th Cir.2004).

       In accordance with 8 C.F.R. § 245.2(c), Mr. Ziahet has the right in removal

proceedings to “renew” his application to adjust status in order to seek favorable action.

See also 8 C.F.R. § 245.2(a)(5)(ii) (“No appeal lies from the denial of an application by

the director, but the applicant. . . retains the right to renew his or her application in

proceedings under 8 C.F.R. part 240.”). Under such circumstances, the prior agency

denial is irrelevant: the immigration judge alone has jurisdiction over the renewed

requests to adjust status and is not bound by earlier agency determinations. See 8 C.F.R.

§ 245.2(a)(1) (“After an alien, other than an arriving alien, is in deportation or removal

proceedings, his or her application for adjustment of status under section 245 . . . shall be

made and considered only in those proceedings”). See also Offiiong v. Holder, 864

F.Supp.2d 611, 628 (SD. Tex 2012)(“When removal proceedings are pending, further

administrative relief is available and there is no final agency decision for judicial

review.”)

       Third, “[w]here relief is available from an administrative agency, the plaintiff is

ordinarily required to pursue that avenue of redress before proceeding to the courts, and

until that recourse is exhausted, suit is premature and must be dismissed.” Reiter v.

Cooper, 507 U.S. 258, 269 (1993). Accordingly, under statute, Mr. Ziahet is required to
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exhaust “all administrative remedies available to the alien as of right” before seeking

judicial review in an appellate court. 8 U.S.C. § 1252(d)(1); see also American Airlines,

Inc. v. Herman, 176 F.3d 283, 292 (5th Cir. 1999)( “[t]he requirement that the reviewable

order be ‘definitive’ in its impact on the rights of the parties is something more than a

requirement that the order be unambiguous in legal effect. It is a requirement that the

order have some substantial effect which cannot be altered by subsequent administrative

action.”), quoting Atlanta Gas Light Co. v. Federal Power Comm'n, 476 F.2d 142, 147

(5th Cir.1973).

       Finally, Mr. Ziahet may not choose to forego renewing his application to adjust

before the immigration judge in an effort to claim that USCIS' decision is still final. Such

forum manipulation is contrary to the statutory framework enacted by Congress.

Allowing Mr. Ziahet to raise his claims in district court would effectively “bypass the

administrative process” and undermine Congress' intent to streamline judicial review and

conserve judicial resources. Kurfees v. INS, 275 F.3d 332 (4th Cir. 2001).

       3.     The Plaintiffs may not rely on general grants of jurisdiction that
              conflict with the specific limiting provisions of 8 U.S.C. § 1252.

       The Plaintiffs assert that jurisdiction exists under 28 U.S.C. § 1331 (federal

question jurisdiction); 28 U.S.C. §§ 2201 & 2202 (declaratory judgment); and 5 U.S.C.

§§ 701 et seq. (the APA). These provisions cannot provide a basis for jurisdiction

because they are general grants of jurisdiction. As explained above, jurisdiction does not

lie because it is specifically precluded by statute. See 8 U.S.C. § 1252(b)(9); Nuclear

Info. & Res. Serv. v. DOT Research, 457 F.3d 956, 958-959 (9th Cir. 2006) (“where a

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federal statute provides for direct review of an agency action in the court of appeals, such

specific grants of exclusive jurisdiction to the courts of appeals override general grants of

jurisdiction to the district courts”) (internal citations omitted).

       The statutes and provisions cited by the Plaintiffs are general grants of

jurisdiction, whereas 8 U.S.C. § 1252 implements a specific procedural scheme created

by Congress to limit review in this precise scenario, i.e., where aliens seek review of a

decision under 8 U.S.C. § 1255. See Gallanosa by Gallanosa v. United States, 785 F.2d

116, 119-21 (4th Cir. 1986) (concluding in view of INA's exhaustion-of-remedies

provision that district court lacked jurisdiction over complaint by alien invoking the

Constitution, 28 U.S.C. § 1331, 8 U.S.C. § 1329, and 5 U.S.C. §§ 701-706 as bases for

jurisdiction).

       This exact issue was addressed by the 5th Circuit in Cardoso v. Reno, 216 F.3d

512 (5th Cir. 2000). In Cardoso, the plaintiff filed suit in the District Court, seeking

review of the INS’s denial of her application to adjust status. Although the Attorney

General had not initiated removal proceedings against the plaintiff, she alleged that the

denial was erroneous and subjected her to the risk of deportation. The 5th Circuit

dismissed, holding that the court may not exercise jurisdiction, because the plaintiff had

not yet exhausted her administrative remedies. Specifically, the court explained that the

plaintiff’s right to renew her application for adjustment of status in removal proceedings

rendered her claim unexhausted, even though removal proceedings had not yet been

initiated against the plaintiff. Id. at 518 (citing 8 C.F.R. § 245.2(a)(5)(ii)(1999) (“No

appeal lies from the denial of an application by the director, but the applicant, if not an
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arriving alien, retains the right to renew his or her application in [removal]

proceedings.”).

       The general grants of jurisdiction cited by the Plaintiffs are insufficient to

overcome Congress' clear mandate to consolidate claims for relief in petitions for review

before the appropriate appellate court. The Plaintiffs’ action should be dismissed.

       4.     The Plaintiffs may not challenge the Government’s decision when to
              commence removal proceedings.

       In their complaint, the Plaintiffs appear to request that the Court review the

Government’s prior decision to not commence removal proceedings against Mr. Ziahet.

See e.g. Complaint at paras. 2,37,39,40. However, such review is explicitly prohibited by

8 U.S.C. § 1252(g):

       Except as provided in this section and notwithstanding any other provision
       of law (statutory or nonstatutory), including . . . sections 1361 and 1651 of
       such title [28], no court shall have jurisdiction to hear any cause or claim
       by or on behalf of any alien arising from the decision or action by the
       Attorney General to commence proceedings, adjudicate cases, or execute
       removal orders against any alien under this chapter.

(Emphasis added). The Supreme Court has recognized this restriction in Reno v.

American–Arab Anti–Discrimination Committee, 525 U.S. 471, 482 (1999)( 8

U.S.C. § 1252(g) deprives the federal courts of jurisdiction to review “three

discrete actions that the Attorney General may take: her “decision or action” to

“commence proceedings, adjudicate cases, or execute removal orders.”). See also

Cardoso v. Reno, 216 F.3d at 516. Because such review is prohibited, Plaintiffs’

due process claims must be dismissed.


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B.    Plaintiffs have failed to effect service of process on the Defendants as required
by Fed. R. Civ. P. 4(i) and 4(m).

          As previously noted, Plaintiffs’ original complaint was filed on March 18, 2016.

The Complaint names the following Federal Government officers and employees in their

official capacities as Defendants: John F. Kelly, Secretary of the Department of

Homeland Security; James McCament, Acting Director of U.S. Citizenship and

Immigration Services; and Tracy Tarango, Field Office Director of the U.S.C.I.S. Dallas

Field Office. It also names the Department of Homeland Security and the U.S.

Citizenship and Immigration Services as defendants. However, none of the named

Defendants have been served as of June 7, 2017, which is more than 90 days since the

filing of the complaint.

          The 90-,day deadline set forth in Fed. R. Civ. P 4(m) for service passed on June

16, 2016, almost one year ago. The district court record contains two sets of executed

summonses filed by the Plaintiffs, purporting to establish service on the named

defendants. See Docs. 10-14 and 23-27. The first set of summonses establishes that the

Plaintiffs attempted to serve all defendants by serving the U.S. Department of Justice,

Civil Division Office of Immigration Litigation, at 950 Pennsylvania Avenue, NW,

Washington D.C. 20530. The second set shows that the Plaintiff attempted to serve the

defendants by serving all summonses on the U.S. Attorney’s office for the Eastern

District of Texas, at 101 E. Park Blvd., Suite 500, Plano, Texas 75074. To date, no

summons has been returned showing service upon the Attorney General for the United

States.

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        As explained in 6 C.F.R. § 5.42(a)(2017), only the Office of General Counsel is

authorized to receive complaints sought to be served upon the Department of Homeland

Security, the Secretary of Homeland Security, or Department of Homeland Security

employees. The regulation further states that “all such documents should be delivered or

addressed to the Office of the General Counsel, United States Department of Homeland

Security, Washington, DC, 20528.” Id. Not only did the Plaintiffs not comply with this

regulation, they did not attempt to serve any of the named Defendants at their official

addresses 3. Accordingly, there has been no service effected or even attempted on any of

the named Defendants. Additionally, no return of service has been made demonstrating

service upon the Attorney General of the United States as required by Fed. R. Civ. P. 4(i).

The complaint should be dismissed for failure to comply with the rules governing service

of process.

        Under Fed. R. Civ. P. 4(m), Plaintiffs bear the burden of accomplishing proper

service of process within 90 days of filing the complaint and must show good cause for

having failed to do so in order to avoid dismissal. See Flory v. United States, 79 F.3d 24

(5th Cir. 1993) (failure to serve the Attorney General); Peters v. United States, 9 F.3d

344, 345 (5th Cir. 1993) (failure to serve the United States Attorney); McGinnis v.

Shalala, 2 F.3d 548, 550 (5th Cir. 1993) (failure to serve the United States Attorney);

System Signs Supplies v. United States Dept. Of Justice, 903 F.2d 1011, 1013 (5th Cir.

1990) (failure to serve the United States Attorney); Florance v. Bush, No. 3:09-cv-1470-

3 The Defendant’s official addresses were either known to the Plaintiff or are readily available on-line.
For example, the Plaintiffs list the Dallas Field Office Director’s address in their complaint at paragraph
24.
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b-BH, 2010 WL 2730615, at *3 (N.D. Tex. May 25, 2010) (Rule 4(m) requires dismissal

without prejudice when service has not been effected within 120 days of filing the

complaint unless Plaintiff shows good cause to extend the time for service).

       In System Signs, 903 F.2d at 1013, the Fifth Circuit explained that:

              To establish good cause, a litigant must demonstrate at least
              as much as would be required to show excusable neglect, as
              to which simple inadvertence of mistake of counsel or
              ignorance of the rules does not suffice . . . Additionally, the
              claimant must make a showing of good faith and establish
              some reasonable basis for noncompliance within the time
              specified.


Id. at 1013 (quoting Winters v. Teledyne Movable Offshore, Inc., 776 F.2d 1304, 1306

(5th Cir. 1985). Also, Defendants’ actual notice of the litigation does not satisfy the

requirement of proper service under Fed. R. Civ. P. 4. See Peters, 9 F.3d at 345

(improper service of the summons and complaint on the United States is not cured by

actual notice of the action); System Signs, 903 F.2d at 1014 (actual notice does not suffice

for service of process).

       Recently, in Morris v. V4V1 Vehicles for Veterans, 2017 WL 77682 (E.D. Tex.

January 9, 2017), this Court dismissed a case for insufficient service of process. The

Court dismissed the Complaint for failure to effect proper service, because, upon

reviewing that record, plaintiff failed to effect proper service on the Defendant within 90

days, and plaintiff failed to show good cause for not effecting timely service.

       This Court has already addressed the issue of Plaintiffs’ lack of proper service in

this case three times: It issued its Notice of Impending Dismissal on May 23, 2016,

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(Doc. 8); in reviewing Plaintiffs’ Motion for Default Judgment on January 11, 2017, it

ordered the Plaintiffs to show compliance with Fed. R. Civ. P. 4(i) to show service on the

United States attorney and the Attorney General of the United States (Doc. 20); and, on

January 24, 2017, it granted Plaintiffs’ petition for a 60-day extension to cure the

defective service on the United States (Doc. 22). To date, Plaintiffs have failed to serve

the named defendants in accordance with Fed. R. Civ. P. 4(i) and 4(m), and cannot show

good cause for not effecting timely service. This case should be dismissed pursuant to

Rule 12(b)(5) for failure to effect proper service upon the named defendants and the

Attorney General of the United States.

                                        CONCLUSION

       This Court should dismiss each of Plaintiffs’ claims, under Fed. R. Civ. P.

12(b)(1), 12(b)(5), and 12(b)(6) for lack of subject matter jurisdiction, failure to properly

serve the Defendants, and failure to state a claim upon which relief can be granted.

                                           Respectfully submitted,

                                           BRIT FEATHERSTON
                                           ACTING UNITED STATES ATTORNEY


                                           /s/ Ruth Harris Yeager
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 7th day of June, 2017, a true and correct copy of the
foregoing Defendants’ Motion to Dismiss has been electronically served on counsel of
record, addressed to:

       Ryanne Guy Konan
       Ryanne Konan Law Office
       4 Marshall Rd., Suite 107
       Wappingers Falls, NY 12590

                                              /s/ Ruth Harris Yeager
                                              RUTH HARRIS YEAGER
                                              Assistant United States Attorney




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